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Thomson Reuters Canada Limited, Thomson Reuters
Enterprise Centre GmbH, and West Publishing Corporation

               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY

ATLAS DATA PRIVACY                        : CIVIL ACTION
CORPORATION, et al.,                      :
                                          : NO. 1:24-CV-04269
                   Plaintiffs             :
                                          :
v.                                        :
                                          :
THOMSON REUTERS                           :
CORPORATION, et al.,                      :
                                          :
                   Defendants             :

     NOTICE OF MOTION TO DISMISS PURSUANT TO RULE 12(B)(5)

      PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure

12(b)(5) and in accordance with the Court’s Order entered on January 22, 2025, the

undersigned attorneys for Defendants Thomson Reuters Corporation, Thomson

Reuters Canada Limited, Thomson Reuters Enterprise GmbH, and West Publishing
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Corporation (the “Thomson Reuters Defendants”) hereby move before the

Honorable Harvey Bartle III, U.S.D.J., for an Order dismissing the claims against

Thomson Reuters Corporation and Thomson Reuters Canada Limited.

      PLEASE TAKE FURTHER NOTICE that in support of this Motion, the

Thomson Reuters Defendants shall rely on the attached Brief.

      PLEASE TAKE FURTHER NOTICE that a proposed form of Order is

submitted herewith.

      PLEASE TAKE FURTHER NOTICE that, in addition to this Motion, the

Thomson Reuters Defendants move to dismiss the Complaint in its entirety for the

reasons described in the Memorandum of Law in Support of Defendants’

Consolidated Motion to Dismiss Pursuant to Rule 12(b)(6). See Atlas Data

Privacy Corp., et al. v. DM Group Inc., et al., No. 24-4075 (ECF No. 59).

Dated: March 18, 2025                       BALLARD SPAHR LLP


                                             /s/ Marcel S. Pratt
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                         CERTIFICATE OF SERVICE

      I, Marcel Pratt, hereby certify that I caused a copy of the foregoing Notice of

Motion to Dismiss Pursuant to Rule 12(b)(5), as well as the accompanying Brief in

Support of the Motion and Proposed Order, to be served via e-filing on March 18,

2025 to all counsel of record.



Date: March 18, 2025                          /s/ Marcel S. Pratt
                                             Marcel S. Pratt




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